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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ENRIQUE ZAMARRIPA,                                  )
                                                    )
                Plaintiff,                          )
vs.                                                 )   No. 3:16-CV-3109-S-BH
                                                    )
FARRAKHAN, et al.,                                  )
                                                    )
                Defendants.                         )   Referred to U.S. Magistrate Judge

                                   ORDER TO SHOW CAUSE

        By order of reference dated August 3, 2018, this case was referred for full case management.

        The plaintiff filed this action against the defendants on November 7, 2016, and summonses

were issued on that same date. (docs. 1, 3.) The motions to dismiss all claims against the defendants

who appeared have been granted, and the plaintiff voluntarily dismissed his claims against two

unserved defendants. (docs. 63, 65, 82.) Five remaining defendants have not appeared or filed

responsive pleadings. Currently pending is a motion for entry of default judgment against one of

those five defendants, i.e., Deray McKesson. (doc. 89.) Although the plaintiff filed returns of

service for the other four, Black Lives Matter, Opal Tometi, Patrisee Cullors, and New Black

Panthers Party, (docs. 41, 56), he has not sought entry of default against them, and it is not clear that

he has effectively served the two defendant entities. See Klaymen et al. v. Obama et al., 255 F.

Supp. 3d 648, 667-668 (N.D. Tex. June 2, 2017) (finding that same form of service on Black Lives

Matter as in this case was defective, that form of service on New Black Panthers Party was

improper, and dismissing claims against both under Fed. R. Civ. P. 4(m)).

        No later than 5:00 p.m. on Friday, August 24, 2018, the plaintiff must (1) file a brief

describing in detail how the service effected on Black Lives Matter, Opal Tometi, Patrisee Cullors,

and New Black Panthers Party complies with Fed. R. Civ. P. 4, (2) show good cause in writing why
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he has not moved for entry of default and for final default judgment against them, and (3) show good

cause in writing why the claims against them should not be dismissed for failing to effect service.

If the plaintiff fails to comply with this order, dismissal of this case against these four defendants

will be recommended without further notice.

       SO ORDERED on this 15th day of August, 2018.



                                                       ___________________________________
                                                       IRMA CARRILLO RAMIREZ
                                                       UNITED STATES MAGISTRATE JUDGE




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